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                   UNITED STATES DISTRICT COURT
                              FOR THE
                        DISTRICT OF VERMONT

UNITED STATES OF AMERICA           :
                                   :
                                   :
           v.                      :    File No. 2:95 CR 72
                                   :             2:02 CR 23
STEPHEN BRENT HUTCHINS             :


                                  ORDER

          The Report and Recommendation of the United States

Magistrate Judge was filed November 28, 2005.               After careful

review of the file and the Magistrate Judge's Report and

Recommendation, no objections having been filed by any party,

this Court ADOPTS the Magistrate Judge's recommendations in full

for the reasons stated in the Report.

        A district judge must make a de novo determination of

those portions of a magistrate judge's report and recommendation

to which an objection is made.      Fed. R. Civ. P. 72(b); 28 U.S.C.

§ 636(b) (1); Perez-Rubio v. Wyckoff, 718 F.Supp. 217, 227

(S.D.N.Y. 1989).        The district judge may "accept, reject, or

modify, in whole or in part, the magistrate's proposed findings

and recommendations."       Id.

      The Court GRANTS petitioner’s motion to withdraw his §2255

motion (Paper 841), and that the §2255 motion (Paper 832) is

DISMISSED without prejudice 841).

     Pursuant to Fed. R. App. P. 22(b), a certificate of


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appealability is DENIED because the petitioner has failed to

make a substantial showing of denial of a federal right.

Furthermore, the petitioner’s grounds for relief do not present

issues which are debatable among jurists of reasons, which could

have     been   resolved    differently,    or   which     deserve       further

proceedings.       See e.g., Flieger v. Delo, 16 F.3rd 878, 882-83

(8th Cir.) cert. denied, 513 U.S. 946 (1994); Sawyer v. Collins,

986 F.2d 1493, 1497 (5th cir.), cert. denied, 508 U.S. 933

(1993).

        Furthermore, it is certified that any appeal taken in forma

pauperis would not be taken in good faith, pursuant to 28 U.S.C.

§ 1915(a)(3).

        THIS CASE IS CLOSED.

            Dated at Burlington, in the District of Vermont, this

10th day of April, 2006.




                                    /s/ William K. Sessions III
                                     William K. Sessions III
                                     Chief Judge
                                     U.S. District Court




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